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     Proposed Counsel for The Official
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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     In re:                                                      §    Chapter 11
                                                                 §
     NATIONAL RIFLE ASSOCIATION OF AMERICA                       §    Case No. 21-30085-hdh11
     AND SEA GIRT LLC,                                           §
                                                                 §
               Debtors1.                                         §    Jointly Administered

          THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ OBJECTION
           TO THE MOTION FOR APPOINTMENT OF EXAMINER [DKT. NO. 114]

 TO THE HONORABLE HARLIN D. HALE,
 UNITED STATES BANKRUPTCY JUDGE:

              The Official Committee of Unsecured Creditors (the “Committee”) of the National Rifle

 Association of America (the “NRA”) and Sea Girt LLC (collectively, the “Debtors”) respectfully

 submits this Objection (the “Objection”) to the Motion for Appointment of Examiner [Dkt. No.

 114] (the “Examiner Motion”) filed by Phillip Journey (the “Movant”). In further support of this

 Objection, the Committee respectfully represents as follows:




 1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
 Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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                                  PRELIMINARY STATEMENT

          In the Examiner Motion, the Movant urges the Court to accept as a foregone conclusion,

 without evidence and contrary to applicable authority, that the appointment of an independent

 examiner is mandatory in these chapter 11 cases. It is not. In the alternative, the Movant asserts

 that an examiner with extraordinarily broad, expanded powers is “necessary” to protect the

 interests of the estate and the Debtors’ creditors. It is not either. The Movant overlooks the critical

 and active role that committees are empowered to take once appointed, a role which here the

 Committee is already fulfilling. If having a fully engaged Committee were not enough, these

 chapter 11 cases are also subject to the additional oversight and investigation of the United States

 Trustee and other parties, including those that have filed motions to dismiss and/or to appoint a

 chapter 11 trustee. The addition of yet another professional to these chapter 11 cases—particularly

 one with a $350,000 budget and ability to retain its own advisors—not only would unnecessarily

 duplicate the work already being done by the Committee and other parties but further would serve

 to delay the debtors’ exit from bankruptcy. Accordingly, the Examiner Motion should be denied.

                                  JURISDICTION AND VENUE

          1.     The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

 This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

          2.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                   RELEVANT BACKGROUND

          3.     On January 15, 2021, each of the Debtors filed a voluntary petition for relief

 pursuant to chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

 Northern District of Texas, Dallas Division (the “Court”).




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          4.      The Debtors continue to operate their business as debtors-in-possession pursuant to

 Bankruptcy Code sections 1107(a) and 1108.

          5.      On February 4, 2021, the United States Trustee for the Northern District of Texas

 appointed the Committee pursuant to section 1102 of the Bankruptcy Code.2 See Dkt. No. 105.

 The Committee subsequently selected Norton Rose Fulbright US LLP as counsel on February 8,

 2021, subject to Court approval. The Committee also selected AlixPartners, LLP as its financial

 advisor on February 11, 2021, subject to Court approval.

          6.      On February 8, 2021, the Movant filed the Examiner Motion, pursuant to which the

 Movant seeks appointment of an independent examiner with extraordinarily broad authority to

 examine and investigate (i) the actions of the Debtors’ pre- and post-petition management; (ii) the

 management practices being employed in the operation of the non-profit organization; (iii) the

 compensation of management; (iv) the benefits and perks being provided to the Debtors’

 management team; and (v) the propriety of arrangements with certain vendors.

          7.      On February 10, 2021, Ackerman McQueen, Inc. (“AMc”) filed Ackerman

 McQueen, Inc.’s Motion to Dismiss the Chapter 11 Bankruptcy Petition, or, in the Alternative,

 Motion for Appointment of a Chapter 11 Trustee, and Brief in Support [Dkt. No. 131] (the “AMc

 Dismissal/Trustee Motion”).

          8.      On February 12, 2021, The People of the State of New York, by Letitia James,

 Attorney General of the State of New York (the “NYAG”) filed the State of New York’s Motion to

 Dismiss, or, in the Alternative to Appoint a Chapter 11 Trustee [Dkt. Nos. 155 & 163] and the

 State of New York’s Memorandum of Law and Brief in Support of Motion to Dismiss, or, in the



 2
   The Committee is currently comprised of the following entities: (a) the Pension Benefit Guaranty Corp.; (b)
 Ackerman McQueen, Inc.; (c) InfoCision, Inc.; (d) Stone River Gear, LLC; and (e) David Dell’Aquila. See Dkt. No.
 105.



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 Alternative, to Appoint a Chapter 11 Trustee [Dkt. No. 156] (collectively, the “NYAG

 Dismissal/Trustee    Motion”     together   with       the   AMc   Dismissal/Trustee   Motion,   the

 “Dismissal/Trustee Motions”).

          9.    On February 17, 2021, Christopher W. Cox filed Christopher W. Cox’s Joinder to

 (I) the Motions to Dismiss or, in the Alternative, to Appoint a Chapter 11 Trustee filed by Ackerman

 McQueen, Inc. and the State of New York, or (II) the Motion of Phillip Journey for Appointment

 of an Examiner [Dkt. No. 172].

          10.   On February 22, 2021, the NYAG filed a motion to continue the hearing on the

 Examiner Motion (the “Motion to Continue”) [Dkt. No. 208]. The Movant filed an objection to

 the Motion to Continue [Dkt. No. 224].

          11.   On February 23, 2021, the District of Columbia, through its Attorney General (the

 “DOCAG”), filed the District of Columbia’s Motion in Support in the State of New York’s Motion

 to Appoint a Chapter 11 Trustee [Dkt. No. 214].

          12.   On February 24, 2021, the Court held a hearing on the Motion to Continue, granted

 the Motion to Continue, and ordered the Examiner Motion to be heard with the hearings on the

 Dismissal/Trustee Motions, which are set for a six-day trial before this Court beginning on March

 29, 2021.

          13.   On March 5, 2021, the Movant filed the Limited Objection to the Motions to

 Dismiss or the Appointment of Trustee [Dkt. No. 306] (the “Limited Objection”) and re-urged his

 prior request that the Court appoint an examiner with the following expanded powers: (i)

 investigate potential causes of action against insiders and non-debtors, including relative to

 misconduct and any potential breach of fiduciary duty; (ii) investigate potential causes of action

 against any creditors, including members of the Committee; (iii) investigate potential excessive




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 compensation, expenses and perks of officers and/or directors, including investigation of

 reasonableness and market terms; (iv) investigate compensation and contracts with related parties,

 including family members of officers, directors, and certain creditors; (v) investigate restriction

 and segregation of cash receipts, and evaluate appropriate compliance and use of any restricted

 funds, pre-petition; (vi) investigate intercompany transactions, particularly between Debtors and

 nondebtors, including borrowings, pre-petition; (vii) investigate supporting information related to

 Debtor estimates of undisputed claims versus the likely totality of all claims; (viii) assess litigation

 in process, consult with interested parties as directed by the Court, consult with and assess the

 merits of any recommended course of action, and corresponding litigation budget; (ix) provide at

 least monthly reporting to the Committee and the court of actions taken, observations, conclusions

 and/or recommendations, with regard to defined scope. Reporting may be made under seal where

 appropriate; (x) monitor reporting and segregation of cash receipts, and evaluate appropriate

 compliance with any restricted funds, post-petition; (xi) monitor intercompany transactions,

 particularly between Debtors and nondebtors, post-petition; (xii) monitor sources, uses, and

 transfers of funds for the estate, to include restricted and unrestricted receipts, versus projected

 expenses, and the necessity and reasonableness of such expenses; (xiii) investigate any claims

 deemed meritorious by the Examiner that shall be raised by a party in interest against the Debtors

 or members of the Committee; (xiv) upon the request of a party in interest, mediate any dispute

 involving the Debtors, or make a motion to the court to recommend third-party mediation; (xv)

 take a position on any motion filed in these cases; and (xvi) participate in any Plan discussions

 with the Debtors and Committee.

          14.   On March 6, 2021, the Debtors filed the Omnibus Opposition to (1) Ackerman

 McQueen, Inc.’s Motion to Dismiss the Chapter 11 Bankruptcy Petition, or, in the Alternative,




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 Motion for the Appointment of a Chapter 11 Trustee, (2) the State of New York’s Motion to

 Dismiss, or in the Alternative, to Appoint Chapter 11 Trustee, and (3) the District of Columbia’s

 Motion to Appoint a Chapter 11 Trustee [Dkt. No. 307].

                                                 OBJECTION

          15.     As set forth in the Examiner Motion, the Movant seeks entry of an order appointing

 an independent examiner with extraordinarily broad powers to investigate the governance of the

 Debtors and the actions of its management both pre- and post-petition and the propriety of

 arrangements with certain vendors. In support of his request, the Movant relies wholly upon the

 allegations raised by the NYAG and DOCAG in their respective pre-petition state court litigation

 against the Debtors and their management, which include claims involving misappropriation of

 funds, failure to provide oversight and breach of fiduciary duty.3 These same allegations have also

 been raised in connection with the Dismissal/Trustee Motions.

          16.     To be sure, the Examiner Motion raises allegations that are serious and concerning.

 But the Committee, which has already been formed, is statutorily empowered to conduct such

 investigation, and in fact the Committee’s investigation with respect to these matters is already

 well underway due largely to the fact that the allegations in the Examiner Motion also form the

 basis of the Dismissal/Trustee Motions. Ultimately, the appointment of an examiner would be

 duplicative of the Committee’s work, thus wasting valuable estate resources (i.e., cash) and result

 in needless delay, with no attendant commensurate benefit to the estate, and would not further the

 Committee’s efforts to advance these cases toward the goal of paying creditors in full.

 Accordingly, the Examiner Motion must be denied.



 3
     In this vein, the complaints for both the pre-petition lawsuits brought by the DOCAG and the NYAG are attached
     to the Examiner Motion as Exhibits A and B.



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          A.    The Appointment of an Examiner is Not Mandatory Because the Movant has
                Failed to Show That the Statutory Threshold of Section 1104(c)(2) of the
                Bankruptcy Code Has Been Satisfied.

          17.   The Movant first argues in the Examiner Motion that the appointment of an

 examiner is mandatory in these cases pursuant to section 1104(c)(2) of the Bankruptcy Code

 because the Debtors’ fixed, liquidated, unsecured debts, other than debts for goods, services, or

 taxes, or owing to an insider, exceed $5,000,000. As an initial matter, the Movant bears the burden

 to prove under section 1104(c)(2) of the Bankruptcy Code that an examiner should be appointed

 and must establish that the Debtors’ “fixed, liquidated, unsecured debts, other than for goods,

 services, or taxes, or owing to an insider, exceed $5,000,000.” See In re Dewey & Leboeuf LLP,

 478 B.R. 627, 636 (Bankr. S.D.N.Y. 2012); 11 U.S.C. § 1104(c)(2) (emphasis added). Typically,

 this requirement is satisfied where there is outstanding unsecured bank debt or outstanding publicly

 issued debentures in an aggregate sum in excess of $5,000,000. See 7 Collier on Bankruptcy ¶

 1104.03 (Alan Resnick & Henry J. Sommer eds., 16th ed. rev. 2021).

          18.   Although the Movant summarily asserts in the Examiner Motion that there is “no

 dispute” that the Debtors’ fixed, liquidated, non-insider unsecured debts exceed $5 million, the

 Debtors’ Schedules filed in the cases tell a different story. While the Schedules reflect that the

 Debtors have over $62 million of unsecured debt, this debt appears to be comprised entirely of

 unsecured taxes or trade debts for goods and services, neither of which can be considered under

 section 1104(c)(2)’s plain language. See Dkt. Nos. 159-60, 286-88; see also In re Dewey &

 Leboeuf LLP, 478 B.R. at 636 (noting that while “[i]n many large cases, there is no dispute that

 the condition is satisfied,” this was not true where “[t]he Debtor's schedules show it has substantial

 debts, but it is mostly secured debt, or unsecured trade debts for goods or services.”) (emphasis

 added). Moreover, all of the other scheduled claims in these cases are litigation claims that are

 unliquidated; accordingly, such claims are also excluded under section 1104(c)(2) of the


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 Bankruptcy Code. See In re Dewey & Leboeuf LLP, 478 B.R. at 636 (finding that PBGC’s claims

 appeared at best, to be estimated, and not fixed, liquidated debts where the claim “required[d]

 resolution of disputed issues about the amount of an unfunded pension liability.”).

          19.   Moreover, it is also noteworthy that the cases cited by the Movant in support of its

 argument that appointment of an examiner is mandatory did not actually involve a dispute

 regarding whether or not the $5,000,000 statutory cap had been met. See Examiner Motion ¶¶ 23,

 24; see also, e.g., In re Revco D.S., Inc., 898 F.2d 498, 501 n.2 (6th Cir. 1990) (stating that “[t]he

 parties stipulated that such debts exceed $ 5 million.”); In re UAL Corp., 307 B.R. 80, 84 (Bankr.

 N.D. Ill. 2004) (“The AFA and United do not dispute that each of these requirements [of section

 1104(c)(2)] has been met–the last because the debt involved here exceeds the $5 million

 threshold.”); In re Schepps Food Stores, 148 B.R. 27, 29 (S.D. Tex. 1992) (noting, without further

 elaboration, the “appropriate debts of [the Debtor] exceed $ 5,000,000.”). Here, by contrast, the

 Debtors’ Schedules do not support the Movant’s contention that the $5,000,000 threshold has been

 satisfied, and the Movant, who carries the burden of proof on this issue, has not offered any

 evidence in support of his argument that the monetary requirements of section 1104(c)(2) of the

 Bankruptcy Code have been reached. Accordingly, the standard for mandatory appointment of an

 examiner has not been satisfied by the Movant, and the Examiner Motion should be denied.

          B.    Even if the Statutory Threshold of Section 1104(c)(2) Was Satisfied Here,
                Numerous Courts Agree That the “As is Appropriate” Language of Section
                1104(c)(2) of the Bankruptcy Code Grants a Court Ample Discretion to Not
                Appoint an Examiner.

          20.   Even if the Debtors’ unsecured, liquidated, non-insider, non-trade debts exceed

 $5,000,000, this Court still has discretion to not appoint an examiner in these cases. Specifically,

 section 1104(c) of the Bankruptcy Code provides, in relevant part:




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          If the court does not order the appointment of a trustee under this section, then at
          any time before confirmation of a plan, on request of a party in interest . . . the court
          shall order the appointment of an examiner to conduct such an investigation of the
          debtor as is appropriate . . . .”

 11 U.S.C. § 1104(c) (emphasis added).

          21.      While the Committee acknowledges that several bankruptcy courts, including

 certain courts in the Fifth Circuit (none of which are binding on this Court),4 have held that the

 appointment of an examiner is mandatory where the minimum debt threshold of section 1104(c)(2)

 of the Bankruptcy Code has been satisfied, other courts have come to a different conclusion.

 Indeed, other bankruptcy courts—including the U.S. Bankruptcy Court for the District of Delaware

 and the U.S. Bankruptcy Court for the Southern District of New York—which have held that the

 “as is appropriate” clause of section 1104(c)(2) of the Bankruptcy Code modifies the mandatory

 language of the statute (i.e. “the court shall order the appointment of an examiner”) and provides

 a court leeway in determining whether appointment of an examiner is appropriate. See, e.g., In re

 Residential Capital, LLC, 474 B.R. 112, 120-21 (Bankr. S.D.N.Y. 2012) (citing cases); In re

 Visteon Corp., No. 09-11786 (CSS), 2010 Bankr. LEXIS 5464 (Bankr. D. Del. May 12, 2010),

 Hr’g Tr. at 170:16-20 (ECF Doc. # 3145) (denying appointment of examiner and finding “it would

 be an absurd result to find that in every case where the financial criteria is met and a party-in-

 interest asks, the Court must appoint an examiner.”)



 4
     The Movant relies heavily on Judge Jernigan’s decision in In re Erickson Ret. Cmtys., LLC, 425 B.R. 309, 312
     (Bankr. N.D. Tex. 2010) to support his contention that the appointment of an examiner is mandatory when the
     minimum debt threshold of section 1104(c)(2) of the Bankruptcy Code is met. However, that case is
     distinguishable as not only was Judge Jernigan’s commentary in Erickson mere dicta, but critically, Judge
     Jernigan did not appoint an examiner in Erickson despite the statute’s apparent mandate. See id. (noting, in dicta,
     that where the $5 million unsecured debt threshold is met, a bankruptcy court ordinarily has no discretion.”)
     (emphasis added). Instead, Judge Jernigan determined that the movants “lacked[ed] standing and/or []
     contractually waived the right to seek an examiner in these cases.” Id. at 314. Indeed, other courts in Fifth Circuit
     that have adopted the mandatory interpretation of section 1104(c)(2) have seemingly acknowledged implicit
     exceptions to the rule depending upon the facts and circumstances of the case. See, e.g., In re Schepps Food
     Stores, Inc., 148 B.R. at 39-30 (the provision is mandatory, but the right to request an examiner may be waived).



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          22.     These courts agree that appointment of an examiner is precluded where doing so

 would not be “appropriate” based upon the facts and circumstances of the case.5 Courts following

 this line of better reasoned analysis rely on the legislative history of section 1104(c) of the

 Bankruptcy Code, which provides that an examiner shall be appointed to conduct an investigation

 “as is appropriate under the particular circumstances of the case,” but “the protection must be

 needed, and the cost and expense must not be disproportionately high.” H.R. Rep. No. 95-595,

 95th Cong., 1st Sess. 402 (1977). For example, the appointment of an examiner “would be

 inappropriate if . . . an appropriate and thorough investigation has already been conducted (or is

 nearly complete) by a creditors committee or a governmental agency.” In re Residential Capital,

 LLC, 474 B.R. at 121. Indeed, courts have consistently refused to appoint an examiner where

 doing so would only add cost and delay to the detriment of all creditors and parties-in-interest in

 the case. See In re Shelter Res. Corp., 35 B.R. 304, 305 (Bankr. N.D. Ohio 1983) (noting “[t]he

 appointment of an examiner would entail undue delay in the administration of this estate and most

 likely cause the debtor to incur substantial and unnecessary costs and expenses detrimental to the

 interests of creditors and parties in interest.”); see also U.S. Bank Nat’l Ass’n v. Wilmington Trust

 Co. (In re Spansion, Inc.), 426 B.R. 114, 128 (Bankr. D. Del. 2010) (rejecting mandatory

 interpretation of section 1104(c)(2) and denying a motion to appoint examiner pursuant to section

 1104(c)(2) because the “as is appropriate” language afforded court discretion to deny appointment

 that would result in waste and delay).



 5
     See generally id.; see also In re Dewey & Leboeuf LLP, 478 B.R. at 636 (“Based on the facts and circumstances
     present in this case, the Court concludes that the Examiner Motion should be denied even if the debt threshold in
     section 1104(c)(2) is satisfied.”); In re Am. Home Mortg. Holdings, Inc., No. 07-11047 (CSS) (Bankr. D. Del.
     Oct. 31, 2007), Hr’g Tr. at 76:09-12 (ECF Doc. # 1997) (rejecting mandatory interpretation of section 1104(c)(2)
     because financial threshold was only one part of inquiry and “‘the other piece of the puzzle is that there has to be
     an investigation to perform that’s appropriate,” and denying a motion to appoint an examiner); In re Calpine
     Corp., 377 B.R. 808 (Bankr. S.D.N.Y. 2007), Hr’g Tr. at 72:23-73:19 (ECF Doc. # 6467).



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          23.   Here, appointment of an examiner is not “appropriate,” as the Committee’s

 investigation is already well underway in connection with the hearings on the Dismissal/Trustee

 Motions, and there is no question that the Committee can, is and will adequately represent the

 interests of unsecured creditors and other parties-in-interest in these cases. See e.g., In re PG&E

 Corp., No. 19-30088-DM, 2020 Bankr. LEXIS 1754, at *4 (Bankr. N.D. Cal. July 6, 2020)

 (declining to appoint an examiner where the TCC had investigated the matter and an examiner was

 “not needed” and “not appropriate”); In re Innkeepers USA Trust, No. 10-13800 (SCC) (Bankr.

 S.D.N.Y. Sept. 30, 2012), Hr’g Tr. at 168:21-169:11 (finding that all of requested examination

 topics would be addressed by litigation or by “multiple layers of interested parties” and it would

 not be appropriate to have estate pay for third party to duplicate efforts of others as movant would

 have access to discovery on these topics and be able to “uncover and [marshal] additional facts on

 the issues of concern”); In re Shelter Res. Corp., 35 B.R. at 305 (“There is currently in place a

 Debenture Holders’ Committee with powers under Section 1103(c) of the Bankruptcy Code to

 carry on, if necessary, an investigation as may be appropriate. The appointment of an examiner

 under these circumstances, with the possibility of duplicated effort, is not in the spirit of economy

 of administration in the handling of bankruptcy estates.”).

          24.   Additionally, an examiner would be a waste of estate resources in light of the

 presence and actions of the Committee, whose power and duties are outlined in section 1103 of

 the Bankruptcy Code. Importantly, the provisions of the Bankruptcy Code outlining the

 investigative function of the Committee and the investigative function of an examiner are virtually

 identical and require the Committee or the examiner, as applicable, to “investigate the acts,

 conduct, assets, liabilities, and financial condition of the debtor, the operation of the debtor’s

 business and the desirability of the continuation of such a business . . . .” See 11 U.S.C. §§




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 1103(c)(2), 1106(a)(3), 1106(b). Here, as mandated by section 1103(c)(2) of the Bankruptcy Code,

 the Committee is already investigating “the acts, conduct, assets, liabilities, and financial condition

 of the debtor, the operation of the debtor’s business and the desirability of the continuation of such

 a business . . . ,” which is the same investigation that would be done by an examiner if appointed

 by the Court. Accordingly, the appointment of an examiner would merely duplicate the ongoing

 work of the Committee and would increase the amount of administrative expenses in these cases.

          C.    The Appointment of an Examiner Under Section 1104(c)(1) of the Bankruptcy
                Code is Not Necessary Where, as Here, an Unsecured Creditors’ Committee is
                Best Situated to Perform and is Performing the Investigation.

          25.   The Movant’s final argument is that the appointment of an examiner is necessary

 under section 1104(c)(1) of the Bankruptcy Code, which “requires” an examiner if “such

 appointment is in the interest of creditors, any equity security holders, and other interests of the

 estate.” See 11 U.S.C. § 1104(c)(1). However, here too the Movant’s application of section

 1104(c)(1) of the Bankruptcy Code in this case is misplaced because an examiner is not in the

 “best interests of creditors” given that the Committee will perform the precise investigation that is

 needed.

          26.   It is the Committee—not an examiner—which serves as the statutorily designated

 watchdog for all unsecured creditors, and its role in this case is already particularly significant in

 these cases because the allegations raised in the Examiner Motion and in the Dismissal/Trustee

 Motions have required an investigation by the Committee. Courts, including the Fifth Circuit Court

 of Appeals, have acknowledged that a committee, not an examiner, should be charged with actively

 investigating and policing the Debtors. Compare Examiner Motion ¶ 25 (citing In re Mirant Corp.,

 No. 03-46590, 2004 Bankr. LEXIS 1283, at *10 n.10 (Bankr. N.D. Tex. Sep. 2, 2004)) with In re

 Advisory Comm. of Major Funding Corp., 109 F.3d 219, 224 (5th Cir. 1997) (“Creditors’

 Committees have the responsibility to protect the interest of the creditors; in essence, ‘the function


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 of a creditors’ committee is to act as a watchdog on behalf of the larger body of creditors which it

 represents.’”). Moreover, courts have consistently acknowledged that an examiner is unnecessary

 under section 1104(c)(1) of the Bankruptcy Code where the Committee and United States Trustee

 can actively investigate, pursue and recover assets that may have been fraudulently or wrongfully

 transferred out of the Debtors’ estates. See, e.g., In re Lenihan, 4 B.R. 209 (Bankr. D.R.I. 1980)

 (where the parties offered no proof of dissipation of the debtor’s assets postpetition, despite

 evidence the Debtors’ improperly invested funds prepetition, an examiner was not warranted); In

 re Mechem Fin. of Ohio, Inc., 92 B.R. 760, 761 (Bankr. N.D. Ohio 1988) (finding that the

 appointment of an examiner “would impose another layer of expenses on the Debtor, to the

 detriment of unsecured creditors,” when “[t]he U.S. Trustee and Creditors’ Committee can pursue

 recovery of any assets that might have been preferentially transferred prepetition.”); In re

 Sletteland, 260 B.R. 657, 672 (Bankr. S.D.N.Y. 2001) (noting, in dicta, that members of a

 creditors’ committee had been appointed since the filing of an examiner motion and had served

 discovery orders on the Debtor, which “ordinarily make it particularly inappropriate to impose on

 the estate, and probably on these same creditors, the sizable cost of a trustee or examiner,”

 particularly where “it would appear that the committee can appropriately perform any necessary

 investigation.”). Here, the Committee’s advisors have vast expertise in representing committees in

 complex bankruptcy cases, and the appointment of an examiner in these cases would not be

 additive, but would be an unnecessary drain on estate resources—resources which the Committee

 is concerned about preserving in order to maximize the recovery for all unsecured creditors.

 Accordingly, the Court should deny the request to appoint an examiner under section 1104(c)(1).

          27.   The Movant relies on two cases in support of its argument that the appointment of

 an examiner is warranted under section 1104(c)(1); however both cases are distinguishable from




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 the facts and circumstances of these cases. See Examiner Motion ¶ 29 (citing In re JNL Funding

 Corp., No. 10-73724, 2010 WL 3448221, at *3 (Bankr. E.D.N.Y. Aug. 26, 2010); In re Keene

 Corp., 164 B.R. 844, 856 (Bankr. S.D.N.Y. 1994)).

          28.     First, in JNL Funding Corp., the U.S. Bankruptcy Court for the Eastern District of

 New York determined that an examiner was appropriate where the court had “[the] consent of the

 parties” 6 after months of “increasing acrimony, motion practice, letters to the Court, and discovery

 disputes.” 2010 Bankr. LEXIS 2971, at *8. Based upon the agreement of the parties, Judge Trust

 in JNL Funding Corp. found that an examiner would “avoid[] the excessive expense to the estate

 and all parties of attempting to schedule and conduct sixty-nine depositions across the continental

 United States . . . .” Id. at *9. Here, the Committee specifically objects to the appointment of an

 examiner, unlike the committee in JNL Funding. Additionally, this case does not currently have

 sixty-nine depositions organized across the entire United States and even if it did, the virtual nature

 of depositions and discovery amidst the COVID-19 pandemic obviates the need for travel and

 associated costs. Accordingly, in contrast to JNL Funding, an examiner (particularly one with a

 suggested budget of $350,000) would only increase the expense to the estate—to the detriment of

 unsecured creditors and other parties-in-interest.

          29.     The Movant also relies on In re Keene Corp. in support of its view that the potential

 for avoidance claims against an insider presents “a textbook case calling for the appointment of an

 examiner in the interest of creditors.” 164 B.R. at 856. In Keene, Judge Bernstein appointed an

 examiner at the request of the debtor in order to determine the viability of certain stayed, wrongful

 transfer claims. However, the court in Keene also found that there were “indications that the



 6
     Specifically, in JNL Funding Corp., the committee and the debtor filed responses in support of the appointment
     of an examiner. See id. at *6. (emphasis added).



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 committee abdicated its responsibility to exercise independent judgment on behalf of the

 creditors,” where it represented to the court that the “Plaintiffs’ Bar” of the stayed, wrongful

 transfer claims would prosecute the claims irrespective of whether the court appointed an

 examiner. See id. at 857 (“The determination of the ‘Plaintiffs’ Bar’ to proceed with the Wrongful

 Transfer Claims ‘in any event’—claims which are automatically stayed—flouts the law, and the

 Committee’s advocacy of this view creates the impression that it is representing the ‘Plaintiffs’

 bar’ and not the plaintiffs.”). Here, unlike the committee in Keene, the Committee is not abdicating

 its responsibilities to the unsecured creditor body in opposing the Examiner Motion. To the

 contrary, avoiding duplication of effort, added costs, and unnecessary delay is at the forefront of

 the Committee’s Objection.

          D.    In the Alternative, Should the Court Choose to Appoint an Examiner, the
                Examiner’s Role Should be Limited and Narrow in Scope and With
                Appropriate Budgetary Constraints.

          30.   Bankruptcy courts faced with a request for an examiner uniformly agree that they

 maintain the discretion to define the scope and role of an examiner. See, e.g., In re Erickson Ret.

 Cmtys., LLC, 425 B.R. at 312; In re Loral Space & Communs., Ltd., No. 04-CV-8645RPP, 2004

 U.S. Dist. LEXIS 25681, 2004 WL 2979785, at *4 (S.D.N.Y. Dec. 23, 2004); see also Examiner

 Motion ¶ 34 (conceding that “the Court retains discretion to define the “nature, extent and

 duration” of the investigation “as is appropriate.” In re Revco, 898 F.2d at 501).

          31.   Assuming, arguendo, that the Court is inclined to appoint an examiner, the

 Committee respectfully requests that the Court limit the scope of such examiner, with an overall

 budget not to exceed $100,000. Attached hereto as Exhibit A is the Movant’s proposed scope for

 an examiner as set forth in the Limited Objection, along with the Committee’s view regarding

 whether the proposed scope is appropriate. As is set forth in more detail on Exhibit A, the proposed




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 scope is far-reaching, burdensome, and duplicative in light of the Committee’s appointment in

 these cases.7

                                        RESERVATION OF RIGHTS

          The Committee reserves the right to amend or supplement this Objection before the hearing

 on the Examiner Motion, and to be heard before this Court with respect to the subject matter of

 the Examiner Motion, this Objection, and any matters related thereto.

                                                  CONCLUSION

          WHEREFORE, the Committee respectfully requests that the Court enter an order denying

 the Examiner Motion as set forth herein and granting such other and further relief as is just and

 proper. Alternatively, should the Court choose to appoint an examiner, the Committee respectfully

 requests that the Court enter an order appointing an examiner with a very narrow, limited scope

 and [with an overall budget not to exceed $100,000 and granting such other and further relief as is

 just and proper.




 7
      The Examiner Motion also relies upon a series of cases in support of its argument that an examiner’s investigatory
 powers should be broad, however, many of those decisions were made in the context of large mega-cases involving
 failed leveraged buy-out transactions or improper parent-subsidiary relationships. See Examiner Motion ¶ 36 (citing
 In re Caesars Entertainment Operating Company, Inc., Case No. 15-01145; In re Dynegy Holdings, LLC, Case No.
 11-38111 (CGM) (Bankr. S.D.N.Y. 2011) [Docket No. 276]; In re Residential Capital, Inc., Case No. 12-12020 (MG)
 (Bankr. S.D.N.Y. 2012) [Docket No. 454]; In re Dade Behring Holdings Inc., Case No. 02-29020 (BWB) (Bankr.
 N.D. Ill. 2002)). This case, while large, is still much smaller in size when compared to the rare mega-case in which an
 examiner has been appointed. See, e.g., In re SemCrude, L.P., Case No. 08-11525 (BLS) (Bankr. D. Del. 2008)
 [Docket No. 1295]; In re Tribune Co., Case No. 08-13141 (KJC) (Bankr. D. Del. 2008) [Docket No. 4120]. See also
 In re Southmark Corp., 113 B.R. 280, 281 (Bankr. N.D. Tex. 1990).



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  Dated: March 12, 2021                             Respectfully submitted,

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                                                    Proposed Counsel to the Official Committee of
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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing
 document was served electronically through the Bankruptcy Court’s Electronic Case Filing System
 on those parties that have consented to such service, on the 12th day of March, 2021.

                                                     /s/ Louis R. Strubeck, Jr.
                                                     Louis R. Strubeck, Jr.




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                                    EXHIBIT A




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                                       Proposed Scope of Examiner

Proposed Services                                      Committee View
(i) investigate potential causes of action against     This scope is within the Committee’s power and
insiders and non-debtors, including relative to        duties as outlined in section 1103 of the Bankruptcy
misconduct and any potential breach of fiduciary       Code and will be adequately addressed by the
duty;                                                  Committee.
(ii) investigate potential causes of action against    This scope is within the Committee’s power and
any creditors, including members of the Committee;     duties as outlined in section 1103 of the Bankruptcy
                                                       Code and will be adequately addressed by the
                                                       Committee. To the extent the Committee needs to
                                                       investigate claims against a member of the
                                                       Committee, the non-conflicted members will handle
                                                       the investigation.
(iii) investigate potential excessive compensation,    This scope is within the Committee’s power and
expenses and perks of officers and/or directors,       duties as outlined in section 1103 of the Bankruptcy
including investigation of reasonableness and          Code and will be adequately addressed by the
market terms;                                          Committee.
(iv) investigate compensation and contracts with       This scope is within the Committee’s power and
related parties, including family members of           duties as outlined in section 1103 of the Bankruptcy
officers, directors, and certain creditors;            Code and will be adequately addressed by the
                                                       Committee.
(v) investigate restriction and segregation of cash    This scope is within the Committee’s power and
receipts, and evaluate appropriate compliance and      duties as outlined in section 1103 of the Bankruptcy
use of any restricted funds, pre-petition;             Code and will be adequately addressed by the
                                                       Committee.
(vi) investigate intercompany transactions,            This scope is within the Committee’s power and
particularly between Debtors and nondebtors,           duties as outlined in section 1103 of the Bankruptcy
including borrowings, pre-petition;                    Code and will be adequately addressed by the
                                                       Committee.
(vii) investigate supporting information related to    This scope is within the Committee’s power and
Debtor estimates of undisputed claims versus the       duties as outlined in section 1103 of the Bankruptcy
likely totality of all claims;                         Code and will be adequately addressed by the
                                                       Committee.
(viii) assess litigation in process, consult with This scope is within the Committee’s power and
interested parties as directed by the Court, consult
                                                  duties as outlined in section 1103 of the Bankruptcy
with and assess the merits of any recommended     Code and will be adequately addressed by the
course of action, and corresponding litigation    Committee. With respect to litigation in process
budget;                                           against a member of the Committee, the non-
                                                  conflicted members will handle the assessment.
(ix) provide at least monthly reporting to the    To the extent the Court grants the Examiner Motion
Committee and the court of actions taken,         as to a particular scope, it would be appropriate to
observations, conclusions and/or recommendations, provide regular reporting to the parties in interest in
with regard to defined scope. Reporting may be    these cases.
made under seal where appropriate;




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(x) monitor reporting and segregation of cash          This scope is within the Committee’s power and
receipts, and evaluate appropriate compliance with     duties as outlined in section 1103 of the Bankruptcy
any restricted funds, post-petition;                   Code and will be adequately addressed by the
                                                       Committee.
(xi) monitor intercompany transactions, particularly The Cash Management Order limits intercompany
between Debtors and nondebtors, post-petition;         transactions except as permitted by the Committee
                                                       and the United States Trustee and thus this
                                                       proposed scope is unnecessary and duplicative.
(xii) monitor sources, uses, and transfers of funds    This scope is within the Committee’s power and
for the estate, to include restricted and unrestricted duties as outlined in section 1103 of the Bankruptcy
receipts, versus projected expenses, and the           Code and will be adequately addressed by the
necessity and reasonableness of such expenses;         Committee.
(xiii) investigate any claims deemed meritorious by This scope is within the Committee’s power and
the Examiner that shall be raised by a party in        duties as outlined in section 1103 of the Bankruptcy
interest against the Debtors or members of the         Code and will be adequately addressed by the
Committee;                                             Committee. To the extent the Committee needs to
                                                       investigate claims against a member of the
                                                       Committee, the non-conflicted members will handle
                                                       the investigation.
(xiv) upon the request of a party in interest, mediate To the extent a mediator is requested by a party in
any dispute involving the Debtors, or make a           interest to mediate a specific issue, a motion can be
motion to the court to recommend third-party           filed at the appropriate time.
mediation;
(xv) take a position on any motion filed in these      To the extent the Court grants the Examiner Motion
cases; and                                             as to a particular scope, it would not be appropriate
                                                       to then permit the Examiner to weigh in a motion
                                                       that is unrelated to the Examiner’s scope.
(xvi) participate in any Plan discussions with the     Appointment of an Examiner to participate in Plan
Debtors and Committee.                                 discussions for a plan that has not been filed is
                                                       premature. To the extent the Court appoints an
                                                       Examiner, the Court can always expand the scope of
                                                       the Examiner at a later date to address plan
                                                       negotiations to the extent appropriate.




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